Case 3:02-cr-00035-GMG-DJJ Document 840 Filed 07/05/12 Page 1 of 6 PageID #: 2907
Case 3:02-cr-00035-GMG-DJJ Document 840 Filed 07/05/12 Page 2 of 6 PageID #: 2908
Case 3:02-cr-00035-GMG-DJJ Document 840 Filed 07/05/12 Page 3 of 6 PageID #: 2909
Case 3:02-cr-00035-GMG-DJJ Document 840 Filed 07/05/12 Page 4 of 6 PageID #: 2910
Case 3:02-cr-00035-GMG-DJJ Document 840 Filed 07/05/12 Page 5 of 6 PageID #: 2911
Case 3:02-cr-00035-GMG-DJJ Document 840 Filed 07/05/12 Page 6 of 6 PageID #: 2912
